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                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA


                                      CRIMINAL MINUTES

 Date: December 6 , 2022        Time: 8:03 a.m. – 4:00 p.m.   Judge: YVONNE GONZALEZ ROGERS
 Case No.: 21-cr-00429-         Case Name: UNITED STATES v. Ray J. Garcia
 YGR-1

Attorney for Plaintiff: Molly Priedeman, Andrew Paulson
Attorney for Defendant: James Reilly

  Deputy Clerk: Aris Garcia                        Reported by: Pamela Hebel



                                         PROCEEDINGS
Jury Trial, Day 7 – HELD

See attached.
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                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA

Case No: 21-cr-00429-YGR-1
Case Name: USAv. Garcia

                          TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                        PLAINTIFF ATTORNEY:                  DEFENSE ATTORNEY:
 Yvonne Gonzalez Rogers        AUSA Molly Priedeman, AUSA           James Reilly
                               Andrew Paulson
 TRIAL DATE:                   REPORTER(S):                         CLERK:
 12/6/2022                     Pamela Hebel                         Aris Garcia

 PLF DEF DATE/TIME
 NO. NO. OFFERED              ID   REC   DESCRIPTION                                       BY
         8:03 a.m.                       Court is in session. Discussion with counsel
                                         outside the presence of the jury.
             8:04 a.m.                   Court is in recess
             8:33 a.m.                   Court is in session
             8:35 a.m.                   Cross-examination of witness Putnam by Mr.
                                         Reilly
             9:07 a.m.                   Re-direct of witness Putnam by Mr. Paulson
             9:09 a.m.                   Witness Putnam is excused
             9:10 a.m.                   Jury Instructions given
             9:40 a.m.                   Court is in recess
             9:56 a.m.                   Court back in session
             9:56 a.m.                   Government closing statement by Ms.
                                         Priedeman
             10:58 a.m.                  Jury in recess
             10:59 a.m.                  Court is in recess
             11:52 a.m.                  Defendant closing statement by Mr. Reilly
             1:38 p.m.                   Court is in recess
             1:52 p.m.                   Court is back in session
             1:53 p.m.                   Government rebuttal closing statement by Mr.
                                         Paulson
             2:39 p.m.                   Jury in deliberations.
             4:00 p.m.                   Jury leaves for the day will return for further
                                         deliberations on 12/7/2022 at 8:30 a.m.
